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            EXHIBIT 4
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Notes (185)
  #   Time                      Note                                                                                                         Deleted
  1   Created:                  Title: New Note                                                                                             Yes
      10/4/2018                 Source: Notes
      23:56(UTC-4)              Body:
      Modified:
      10/4/2018
      23:56(UTC-4)
  2   Created:                  Title: Sept 29
      10/1/2018                 Summary: Call with John Wilson about the side door plus intro to his friend about helping at Brown for
      12:27(UTC-4)              2019
      Modified:                 Source: Notes
      10/4/2018                 Body: Sept 29
      22:29(UTC-4)
                                Call with John Wilson about the side door plus intro to his friend about helping at Brown for 2019

                                Oct 1
                                Called Laura - update on weekend text and call with John Wilson on side door

                                Called Michelle Janavs confirmed Isabel going through subco and 50k payment made once she gets
                                her initial letter of acceptance and the rest of the process
                                Requested expenses from Oct 1 till Oct 4 for Eric Rosen and went to get a copy of cashier check to
                                Niki Williams

                                Called                 - explained USC acceptance and 50k payment once conditional Letter sent
                                Oct 2

                                Loud and abrasive call with agents. They continue to ask me to tell a fib and not restate what I told my
                                clients as to where there money was going -to the program not the coach and that it was a donation
                                and they want it to be a payment.
                                I asked for a script if they want me to ask questions and retrieve responses that are not accurate to
                                the way I should be asking the questions. Essentially they are asking me to bend the truth which is
                                what they asked me not to do when working with the agents and Eric Rosen.

                                Liz raised her voice to me like she did in the hotel room about agreeing with her that everyone Bribed
                                the schools. This time about asking each person to agree to a lie I was telling them.

                                Spoke to               which is a referral from Gordon Caplon. They want to nail Gordon at all costs.
                                       told me his daughter is a good runner 19 minute 3 mile good enough for recruited walk on or
                                walk on to Wash U and Cornell. Explained the side door but very late and I probably could not do it at
                                this stage.

                                The agents told me to get him to take another school I had a relationship just to entrap him despite
                                him never asking for any other school.
                                When I told them Gordon texted me that              did not get extended time and the reasons why they
                                still wanted me to ask him for a payment to take the SAT through WHCP even when he was not
                                approved just to nail him. I said that is ludicrous as he will not entertain because she was not
                                approved.

                                Spoke with John Vandemoor Stanford Sailing- explained          ’s out but I would provide 100-200k to
                                him as requested by the agents instead of the program as I would say normally and reiterated that I
                                have him 500k for      .

                                Spoke to Igor and confirmed receipt of Subject Tests and followed agents request to confirm Mark’s
                                time to show up- where he finishes the test- where Igor would be and the 10k payment to Igor and
                                addressed to WHCP

                                Spoke to Agustin- he wanted to know I was backing               as hard as anyone else. I confirmed I
                                spoke to Donna Heinel and          will be admitted            2nd week of Nov- spoke about the fake
                                photo I put on her profile.

                                Spoke to Donna Heinel about           and       going through Subco on Thursday which is now
                                tomorrow- asked about             and she said by 2nd week of Nov. also as requested by agents
                                asked her to put detail on her 20k invoices being sent to the foundation

                                Oct 3

                                Call with       and    - told not to call Donna Heinel till Friday. Asked to wire 300k to Bank America
                                in Boston so I can pay John Vandemoor 100k on Friday and Igor and WHCP 10k based on my calls
                                from Oct 2.

                                They want me to call Gordon again but I rebuffed that since he and his daughter             is out of the
                                testing scam.

                                Told       and     -             would call me at 3:10. FBI wants me to offer other schools if he asks
                                despite there not being a chance at this time
                                Spoke to               - either Cornell or Wash U are top choices- I explained what I can do at this
                                point including side door and maybe other schools

                                Oct 4

                                Call with the agents. Discussed my in person wire with             ’s.

                                Went to the bank to wire 300k - routing number wrong but called agents to get the right one.

                                Recorded            ’s or I hope it recorded - dad and I spoke after volatile session with    .
                                Went back over process with SC and paying 50k to Donna and Women’s Athletic sand other200 for
                                the Program after final letter.

                                He balked and is going to go forward with schools            can start at or play for right now- TCU,
                                SMU, Santa Clara LMU USD etc... dad          thinks           may get in on his own to USC since
                                parents legacy and new test score if he gets 33+

                                Asked for start time of 9:30-10 since I am flying overnight to work out since I am taking the last flight
                                to SFO. But. O they balked



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                                                                                                          SINGER-PHONE-000495
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11   Created:                  Title: Peter Sartorio In 2014total 15k did not work with them in 2014 - shows…
     1/30/2019                 Summary: up twice
     22:26(UTC-5)              Source: Notes
     Modified:                 Body: Peter Sartorio In 2014total 15k did not work with them in 2014 - shows up twice
     1/30/2019
     22:39(UTC-5)              Manuel Henriquez 15k twice why
                                               paid for help guidance off waitlist
                                             just help with younger daughter pulling out of regular school Laurel Springs
                               Sidoo investment 99,990 twice

                                          75 in and 72,350 taken out??
                               John Wilson 20k nothing to do with USC plus donation to USC program for real polo player
                               Joey chen twice on list

                                             50k never went or got into Gtown - why 50 should be 300k
                                               50k no testing or college bribe

                                         water polo player to USC polo
                                         250k Gtown manager great grades scores 2.5 years manageraaaw
12   Created:                  Title: New Note                                                                                 Yes
     1/30/2019                 Source: Notes
     18:30(UTC-5)              Body:
     Modified:
     1/30/2019
     18:30(UTC-5)
13   Created:                  Title: North Shore Aquatic 901 north shore dr NE St Petersburg 727-893-7727…
     1/30/2019                 Summary: M—F 9-4pm Sat 10-4 Sun 1-4
     10:58(UTC-5)              Source: Notes
     Modified:                 Body: North Shore Aquatic 901 north shore dr NE St Petersburg 727-893-7727 M—F 9-4pm Sat 10-4
     1/30/2019                 Sun 1-4
     18:31(UTC-5)
                               Palm Harbor - sawgrass trails at Lowe’s city
14   Created:                  Title:
     1/30/2019                 Summary:
     10:19(UTC-5)              Source: Notes
     Modified:                 Body:
     1/30/2019
     10:20(UTC-5)
15   Created:                  Title: Clearwater
     1/29/2019                 Summary: St Petersburg
     14:47(UTC-5)              Source: Notes
     Modified:                 Body: Clearwater
     1/29/2019
     14:49(UTC-5)              St Petersburg

                                       -close to downtown
16   Created:                  Title: Grafton hotel
     1/29/2019                 Summary: Delta in at 9:15am from Tampa
     14:45(UTC-5)              Source: Notes
     Modified:                 Body: Grafton hotel
     1/29/2019                 Delta in at 9:15am from Tampa
     15:01(UTC-5)              Monday 10:30yuy
17   Created:                  Title: Episcopal Amber Jax - 27 min 202 west to 95
     1/27/2019                 Summary: Jacksonville Country Day 22 minutes 202 west to 295 south
     23:44(UTC-5)              Source: Notes
     Modified:                 Body: Episcopal Amber Jax - 27 min 202 west to 95
     1/27/2019
     23:59(UTC-5)              Jacksonville Country Day 22 minutes 202 west to 295 south

                               Cecil Field Aquatic Center- 13611 Normandy blvd 904-255-4272
                               Episcopal School Jacksonville - Semmes Aquatic Center
18   Created:                  Title: Bio Tech Pro
     1/23/2019                 Source: Notes
     01:06(UTC-5)              Body: Bio Tech Pro
     Modified:
     1/23/2019
     01:07(UTC-5)
19   Created:                  Title: Netflix Same Kind of Difference
     1/22/2019                 Source: Notes
     00:17(UTC-5)              Body: Netflix Same Kind of Difference
     Modified:
     1/22/2019
     00:17(UTC-5)
20   Created:                  Title: 1400 east 6th street
     1/17/2019                 Body: 1400 east 6th street
     12:39(UTC-5)
     Modified:
     1/17/2019
     12:41(UTC-5)
21   Created:                  Title: You found the light in me I could not find
     1/16/2019                 Body: You found the light in me I could not find
     23:45(UTC-5)
     Modified:                 It is buried in my soul
     1/16/2019
     23:52(UTC-5)




                                                                                                                                     5017
                                                                                                       SINGER-PHONE-000664
